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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


 LARRY KLAYMAN


                        Plaintiff

                v.                                    Case Number: 20-cv-80614

 INFOWARS, LLC, et al

                        Defendants.


   NOTICE OF REQUEST FOR INVESTIGATION BY JUDICIAL COUNCIL OF THE
           U.S. COURT OF APPEALS FOR THE ELEVENTH CIRCUIT

        This is to put the Court on notice that Larry Klayman has requested a thorough and

 expeditious investigation of the Judicial Council of the U.S. Court of Appeals for the Eleventh

 Circuit in the following cases over the conduct and rulings of the presiding judge with regard to

 any lobbying or recommendation to the federal bench, actual recommendation to the federal

 bench, relationship, contact, encounter, and/or communication of any kind which these federal

 judges have had, undertaken, or benefitted from with and by Roger Stone and/or his surrogates

 Alex Jones, Owen Shroyer, Infowars and Christopher Ruddy of Newsmax concerning President

 Donald Trump’s appointment of these jurists to the federal bench and related matters. This

 request for investigation has proven necessary because these federal judges will not respond to

 relevant inquiries in this regard. These cases include:

        Klayman v. Infowars LLC et al, 0:20-cv-61912 (Hon. Aileen Cannon)

        Klayman v. Infowars LLC et al, 20-cv-80614 (Hon. Roy K. Altman)

        Corsi v. Newsmax Media, Inc. et al, 20-cv-81396 (Hon. Rodolfo Ruiz)

        Klayman v. Porter et al, 9:22-cv-80270 (Hon. Raag Singhal)



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        These Courts are respectfully requested to preserve any and all records and documents,

 including email, text and social media to avoid spoliation.

 Dated: April 21, 2022                                         Respectfully Submitted,


                                                               /s/ Larry Klayman
                                                               Larry Klayman, Esq.
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                                                               Pro Se




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21h day of April 2022 , a true copy of the foregoing

 was filed via ECF and served to all counsel of record though the Court’s ECF system.


                                                                        /s/ Larry Klayman




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